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in ~~iolation of Title   '~                           U.S.C.. Sections)       ~~0~
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CR-:2 (J>,'99)                            AFFID~~ZT RE OliT-OF-DISTRICT ~VARR4\T
